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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

CONLEY F. MONK, Jr.,                               :
    Plaintiff,                                     :
                                                   :
         v.                                        :           No. 3:22-cv-1503 (JBA)
                                                   :
THE UNITED STATES OF AMERICA,                      :           March 24, 2023
     Defendant.                                    :

                   MOTION FOR PERMISSION TO EXCEED PAGE LIMIT

         The Defendant United States of America’s response to Plaintiff Conley Monk, Jr.’s

complaint, ECF No. 1, is due one week from today, on March 31, 2023. ECF No. 18. Defendant

presently is finalizing a motion to dismiss the complaint pursuant to Federal Rule of Civil

Procedure 12(b)(1) and 12(h), for lack of subject matter jurisdiction. Defendant now moves for

permission to exceed the Court’s forty-page limit for memoranda by no more than five pages.

See D. Conn. L. Civ. R. 7(a)(5) (providing that memoranda shall not exceed forty pages,

“exclusive of pages containing a table of contents, table of statutes, rules or the like”). There is

good cause for the additional pages for the following reasons: Plaintiff’s complaint spans a

roughly fifty-year time period, 1970-present; the complaint describes actions by multiple federal

agencies; and the memorandum must address two separate federal jurisdiction-giving statutes as

well as other complex issues raised by the complaint. Defendant does not anticipate requiring the

full five additional pages but requests five pages in an abundance of caution. Therefore, the

Defendant respectfully requests permission to file a memorandum of no more than forty-five

pages.
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                                  Respectfully submitted,

                                  VANESSA ROBERTS AVERY
                                  UNITED STATES ATTORNEY

                                  /s/ Natalie N. Elicker
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